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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


 NANCY ERHART,                )
                              )
            Plaintiff,        )
                              )
      vs.                     )                CASE NO: 1:11-cv-00301-JMS-MJD
                              )
 UNITED OF OMAHA LIFE         )
 INSURNACE COMPANY,           )
                              )
            Defendant,        )
 ********************)
 UNITED OF OMAHA LIFE         )
 INSURNACE COMPANY,           )
                              )
            Counterclaimant,  )
                              )
      vs.                     )
                              )
 NANCY ERHART,                )
                              )
      Counterclaim Defendant. )

           PLAINTIFF/COUNTERCLAIM DEFENDANT FINAL EXHIBIT LIST

         COMES NOW, the Plaintiff/Counterclaim Defendant Nancy Erhart, and by and through

 the undersigned counsel, Melissa A. Davidson, pursuant to the Case Management Plan and files

 the following final list of exhibits.

                                            EXHIBITS

     1. Disability policy issued by Mutual of Omaha.

     2. Claim file produced by Defendant in this case.

     3. Claims Manual.

     4. All Plaintiff’s medical records, reports, and test results from Henry County Hospital.

     5. All Plaintiff’s medical records, reports, and test results from Forest Ridge Rehabilitation.
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    6. All Plaintiff’s medical records, reports, and test results from Henry County Center for

       Orthopedic Surgery.

    7. All Plaintiff’s medical records, reports, and test results from Central Indiana Orthopedics.

    8. All Plaintiff’s medical records, reports, and test results from New Castle Clinic.

    9. All Plaintiff’s medical records, reports, and test results from Meridian Services

       Corporation.

    10. Plaintiff’s Social Security Disability claim file.

    11. Documents produced by Plaintiff’s employer in response to the Non-party Request for

       Production.

    12. Plaintiff’s documents showing financial difficulties due to denial of benefits – i.e. bank

       statements, disconnect notices, late notices, etc.

    13. Any discovery responses.

    14. Any necessary deposition transcripts from depositions taken in this case.

    15. Curriculum Vitaes or Resumes of peer reviewing nurses and doctors.

    16. Any documents produced in response to non-party request for production of documents.

    17. Photographs and videotapes of the Plaintiff.

    18. Any and all treating physician’s Curriculum Vitaes.

    19. Any and all demonstrative or illustrative evidence, including but not limited to

       anatomical models, photographs, illustrations, or drawings of the Plaintiff’s medical

       condition, financial condition, and illustrations of testimony.

    20. Any and all X-rays, CT scans, MRI’s, and all other diagnostic films or tests performed on

       Plaintiff.

    21. Any and all pleadings filed in this case.
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    22. Mortality Tables.

    23. Any and all charts, summaries, or calculations needed to assist the trier of fact.

    24. Any and all evidence, documents or exhibits which were identified, mentioned, or

       referenced in any discovery response, including Interrogatory Answers, Responses to

       Requests for Production, Responses to Request for Admissions, Depositions, and

       statements of correspondence.

    25. Any and all documents or records relied upon by any treating physician.

    26. Any and all documents or records relied upon by any reviewing physician.

    27. Any and all demonstrative exhibits, including diagrams, charts, drawings, and/or

       computer generated documents relied upon, used or generated by any treating/evaluating

       physician in forming his opinion.

    28. Any and all evidence necessary to impeach witnesses or which evidence may come to the

       attention of the Plaintiff after considering testimony at trial.

    29. AMA Guide to Evaluation of Permanent Impairment, 5th ed.

    30. Summary of Lost Earnings.

    31. Summary of Lost Disability Benefits

    32. All documents evidencing Plaintiff’s loss of income.

    33. All exhibits listed by the Defendant.

    34. Any necessary rebuttal exhibits.

    35. Reports from Mary Fuller.

    36. Cirriculum Vitae of Mary Fuller.

    37. All documents relied upon by Mary Fuller.

    38. Report of Mary Fuller
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    39. Report and video of Dr. Davisson.



                                              Respectfully Submitted,



                                              ____s/ Melissa A. Davidson______
                                              Melissa A Davidson
                                              Attorney for Plaintiff/Counterclaim Defendant




                                    CETIFICATE OF SERVICE

    I hereby certify that a copy of the foregoing Plaintiff’s Final Exhibit List was served upon

 counsel of record through the court’s electronic filing system this 30th day of August, 2012:



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                                                      ___s/ Melissa A. Davidson______
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